      Case 1:22-cr-00417-RDP-NAD Document 7 Filed 12/12/22 Page 1 of 2                        FILED
                                                                                     2022 Dec-12 AM 09:43
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA



UNITED STATES OF AMERICA                   *

vs.                                        *
                                               Case No.1:22-CR-00417-RDP-NAD-1
KRYSTAL DIANE PINKINS,                     *

      Defendant                            *



                              NOTICE OF APPEARANCE


      Comes now the undersigned Attorney, Justin C. Wilson and files his Notice Of

Appearance, and hereby enters his appearance as Criminal Justice Act attorney of

record for the Defendant in the above styled criminal case, Krystal Diane Pinkins.

      The undersigned attorney agrees to represent the Defendant, Krystal Diane

Pinkins, in all proceedings in the above styled criminal case in the United States

District Court for the Northern District of Alabama.

      DONE this the 12th day of December, 2022.




                                                   s/Justin C. Wilson
                                                   Justin C. Wilson
       Case 1:22-cr-00417-RDP-NAD Document 7 Filed 12/12/22 Page 2 of 2


Page 2 of 2

                                  CERTIFICATE OF SERVICE

        I, Justin C. Wilson, do hereby certify that I have on this the 12th day of

December, electronically filed the foregoing with the Clerk of the Court using the

CM/ECF system which will send notification of such filing to all CM/ECF participants

in this case.




                                                    s/Justin C. Wilson
                                                    Justin C. Wilson
                                                    Attorney for the Defendant
